            Case 18-10502-reg        Doc 10      Filed 04/17/18     Page 1 of 5



                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF INDIANA
                              FORT WAYNE DIVISION

 IN RE: Carol A. Easterday                          CASE NO.: 18-10502-reg
                                                    CHAPTER 7
               Debtor

  MOTION FOR RELIEF FROM AUTOMATIC STAY AND ABANDONMENT OF
                       REAL PROPERTY

       The Bank of New York Mellon FKA The Bank of New York, as Trustee for the

Certificateholders of the CWABS, Inc., Asset-Backed Certificates, Series 2007-11,

(“Movant”) hereby moves this Court for abandonment, pursuant to 11 U.S.C. §554 and relief

from the automatic stay, pursuant to 11 U.S.C. §362 with respect to certain real property of

the Debtor having an address of 4620 Anglers Lane, Fort Wayne, IN 46808 (the “Property”).

       In further support of this Motion, Movant respectfully states:

       1. A Petition under Chapter 7 of the United States Bankruptcy Code was filed with

respect to the Debtor on March 29, 2018.

       2. The Debtor has executed and delivered or is otherwise obligated with respect to

that certain promissory note in the original principal amount of $88,800.00 (the "Note"). A

copy of the Note is attached hereto as Exhibit "A". Movant is an entity entitled to enforce

the Note.

       3. Pursuant to that certain Mortgage (the "Mortgage"), all obligations (collectively,

the "Obligations") of the Debtor under and with respect to the Note and the Mortgage are

secured by the Property. A copy of the Mortgage is attached here to as Exhibit "B".

       4. All rights and remedies under the Mortgage have been assigned to the Movant

pursuant to that certain assignment(s) of mortgage, a copy of which is attached hereto as

Exhibit "C”.

18-05774
            Case 18-10502-reg         Doc 10      Filed 04/17/18     Page 2 of 5



        5. The legal description of the Property is:

            Lot 20 in Morgan Creek, Section I, as Recorded in Plat Cabinet D, Page

           152 and Document Number 201089111, recorded February 9, 2007 as

           Instrument No. 207007998, in the Office of the Recorder of Allen

           County, Indiana.

        6. As of April 10, 2018, the outstanding principal of the Note was $102,528.45. As

of April 10, 2018, the outstanding amount of the obligations under the Note and Mortgage

less any partial payments or suspense balance is $110,736.88.

        7. Specialized Loan Servicing LLC services the loan on the Property referenced in

this Motion. In the event the automatic stay in this case is modified, this case dismisses

and/or the Debtor obtains a discharge and a foreclosure action is commenced on the

mortgaged property, the foreclosure will be conducted in the name of Creditor or Creditor’s

successor or assignee. Creditor, directly or through an agent, has possession of the Note.

The Note is either made payable to Creditor or has been duly endorsed. Creditor is the

original mortgagee or beneficiary or the assignee of the Mortgage/Deed of Trust

        8. In addition to the other amounts due to Movant reflected in this Motion, as of the

date hereof, Movant has also incurred legal fees and expenses in connection with seeking the

relief requested in this Motion. Movant reserves all rights to seek an award or allowance of

such fees and expenses in accordance with applicable loan documents and related

agreements, of the Bankruptcy Code and otherwise applicable law.

        9. The following chart sets forth the number and amount of payments due pursuant

to the terms of the Note that have been missed by the Debtor as of April 10, 2018:




18-05774
            Case 18-10502-reg          Doc 10     Filed 04/17/18      Page 3 of 5




Number of              From            To            Monthly                Total Missed
Missed                                               Payment                Payments
Payments                                             Amount
1                   06/01/2017      06/01/2017       $574.56               $574.56
6                   07/01/2017      12/01/2017       $571.89               $6,862.68
4                   01/01/2018      04/01/2018       $578.16               $2,312.64
 Late Charges                                                              $175.28

                             Less partial payments (suspense balance): $0.00
                                                                  Total: $9,925.13

        10. The Estimated market value of the Property is $117,000.00The basis for such

valuation is a Broker Price Opinion. A copy of the Broker Price Opinion is attached hereto as

Exhibit "D".

        11. Because of the total obligations due to Movant under the Note and Mortgage are

at least $110,736.88, as detailed above, the total outstanding principal of the Note is

$102,528.45, as detailed above, and is/are in excess of the value of the property, there is no

equity in the property for benefit of Movants.

        12. Upon information and belief, the encumbrances on the Property listed in the

Schedules or otherwise known, including but not limited to the encumbrances granted to

Movant, listed in order of priority are: (i) Movant ($110,736.88); (ii) Franklin Credit

($14,683.53).

        13. Cause exists for relief from the automatic stay and abandonment of the real

estate for the following reasons:

                   (a) Movant's interest in the Property is not adequately protected.

                   (b) Pursuant to 11 U.S.C. §362(d)(2)(A), Debtor(s) have no equity in the

                        Property; and pursuant to §362(d)(2)(B), the Property is not necessary

                        for an effective reorganization.



18-05774
            Case 18-10502-reg           Doc 10     Filed 04/17/18   Page 4 of 5



        14. The Movant hereby waives the right under 11 U.S.C. §362(e) to a hearing on this

motion within thirty (30) days of the date it is filed.)

       WHEREFORE, the Movant prays that this Court issue an Order terminating or

modifying the stay and granting the following:

       1. Relief from the stay for all purposes allowed by the Note, the Mortgage, and

applicable law, including but not limited to allowing Movant (and any successors or assigns)

to proceed under applicable non-bankruptcy law to enforce its remedies to foreclose upon

and obtain possession of the Property.

       2. That the 14-day stay described by Bankruptcy Rule 4001(A)(3) be waived.

       3. That the Property be deemed abandoned by the Trustee as an asset of the

bankruptcy estate effective upon entry of the Court's order.

        4. For such other relief as the Court deems proper.

                                                  MARINOSCI LAW GROUP, P.C.

                                                  /s/ David M. Bengs
                                                  David M. Bengs, #16646-20
                                                  2110 North Calumet Avenue
                                                  Valparaiso, IN 46383
                                                  Telephone: (219) 462-5104
                                                  Fax: (219) 462-9144
                                                  E-mail: dbengs@mlg-defaultlaw.com




18-05774
            Case 18-10502-reg         Doc 10      Filed 04/17/18        Page 5 of 5



                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF INDIANA
                              FORT WAYNE DIVISION

IN RE: Carol A. Easterday                           CASE NO.: 18-10502-reg
                                                    CHAPTER 7
               Debtor

                               CERTIFICATE OF SERVICE

        I certify that on the 17th day of April, 2018, service of a true and complete copy of
the Motion for Relief from Automatic Stay and Abandonment of Property was served upon
each party or attorney of record herein by the Court’s Electronic Case Filing System or by
depositing same in the United States Mail in envelopes properly addressed to each of them
and with sufficient first class postage affixed.

                                        U.S. Trustee
                                   100 East Wayne Street
                                         5th Floor
                                 South Bend, IN 46601-2349

                                   Martin E. Seifert, Trustee
                                      444 East Main St
                                    Fort Wayne, IN 46802

                                    R. David Boyer II, Esq.
                                       110 West Berry St
                                          Suite 1910
                                    Fort Wayne, IN 46802

                                  Carol A. Easerday, Debtor
                                     4620 Anglers Lane
                                   Fort Wayne, IN 46808

                            All parties listed on the attached Matrix


                                                /s/ David M. Bengs
                                                David M. Bengs, #16646-20
                                                2110 North Calumet Avenue
                                                Valparaiso, IN 46383
                                                Telephone: (219) 462-5104
                                                Fax: (219) 462-9144
                                                E-mail: dbengs@mlg-defaultlaw.com



18-05774
